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  8                         UNITED STATES DISTRICT COURT

  9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

 10

 11    TORRANCE EGAN BLACK,                  CASE NO. CV 20-11823-MCS(AS)

 12                      Petitioner,                JUDGMENT
 13          v.

 14    JIM ROBERTSON,

 15                      Respondent.

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 17

 18         Pursuant to the Order Accepting Findings, Conclusions and
 19   Recommendations of United States Magistrate Judge,
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 21         IT IS ADJUDGED that the First Amended Petition is denied and

 22   dismissed with prejudice.

 23
      DATED: _April 28, 2021_
 24

 25                                            ___________    _________ ____
                                                      MARK C. SCARSI
 26                                             UNITED STATES DISTRICT JUDGE
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